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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.                                    Criminal No. 19-cr-18-ABJ

 ROGER J. STONE, JR.,

                                 Defendant.


                 GOVERNMENT’S NOTICE OF INTENT TO RESPOND
               TO DEFENDANT’S REQUEST FOR RULE 17(c) SUBPOENA

       The United States of America, by and through Jessie Liu, United States Attorney for the

District of Columbia, hereby files this Notice of Intent to Respond to defendant Roger J. Stone,

Jr.’s motion for a subpoena under Federal Rule of Criminal Procedure 17(c) to the United States

House of Representatives, which the defendant filed on July 31, 2019. Doc. No. 161.

       The government intends to file a memorandum in response to the defendant’s motion

within 14 days of its filing (i.e., by August 14, 2019), pursuant to Local Rule of Criminal Procedure

47(b). Therefore, the government respectfully requests that the Court not issue any subpoena to

the U.S. House of Representatives prior to that date.

       The government does not intend to file any response to the defendant’s motion for a

subpoena under Federal Rule of Criminal Procedure 17(c) to CrowdStrike, which the defendant

also filed on July 31, 2019. Doc. No. 160.

                                                        Respectfully submitted,

                                                        JESSIE K. LIU
                                                        U.S. Attorney for the District of Columbia

                                                 By: /s/
                                                     Jonathan Kravis
                                                     Michael J. Marando
                                                     Assistant United States Attorneys
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                                          Adam C. Jed
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Date: August 5, 2019




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